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UNITED STATES BANKRUPTCY COURT

 

DISTRICT OF ALASKA
IN RE: ) Case No. 16-00130
)
AURORA GAS, LLC )
)
)
Debtor. )
STATUS REPORT

AURORA EXPLORATION, LLC

Aurora Exploration, LLC (“AE”), by and through undersigned counsel, hereby
submits the attached Status Report to the court in advance of the July 28, 2017 Aurora
Gas, LLC (“Aurora”) bankruptcy status hearing.

DATED at Anchorage, Alaska this 27" day of July, 2017.

BANKSTON, GRONNING, O’HARA, P.C.
Attorneys for Aurora Exploration, LLC

» | WAU: bruablelex

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LAW OFFICE OF ROBERT CROWTHER
Attorneys for Aurora Exploration, LLC

By:  /s/ Robert P. Crowther
AK Bar No. 9111081
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The undersigned hereby certifies that on 7/27/17, a correct copy
of this document was served by electronic means through the ECF
system to those parties listed on the Notice of Electronic filing.

By: /s/Robert P. Crowther

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